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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 GERALD PALMER, JR.,
                                        Case No. 24-cv-12353
       Plaintiff,
                                        Hon. Brandy R. McMillion
 v.
                                        Magistrate Judge David R. Grand
 SCRIPPS MEDIA, INC.,

       Defendant.


                     STIPULATED PROTECTIVE ORDER
      Upon a showing of good cause in support of the entry of a protective order to

control the discovery and dissemination of confidential or proprietary information,

or information which will improperly annoy, embarrass, or oppress any party,

witness, non-party, or person providing discovery in this case (hereafter collectively

referred to as “Confidential Information”), IT IS HEREBY ORDERED:

      1.      “Confidential Information” will include confidential or proprietary

business information, confidential personal information, or information relating to

personal privacy interests. For purposes of this Order, the following categories of

documents and information will generally be considered “Confidential Information”

and subject to this Protective Order:

           • Confidential or proprietary business information, including all
             materials containing information related to financial or business
             plans, data or projections; proposed plans and strategies; studies
             or analyses by internal or external experts; financial or tax data;
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              competitive analyses; compensation planning; current personnel,
              including officers, directors or partners; matters subject to
              confidentiality or non-disclosure agreements with third parties;
              trade secrets; or other information a party may deem
              competitively sensitive or proprietary.

           • Confidential personal information, including information or
             documents concerning individual tax returns, medical records,
             educational transcripts and other information of a sensitive and
             personal nature, or information protected from disclosure by
             statute.

      2.      Confidential Information subject to this Protective Order may,

depending on the content, be included in a variety of documents, including but not

limited to: documents voluntarily provided for purposes of advancing facilitation

efforts or other alternative dispute resolution; documents produced pursuant to

written discovery; answers to interrogatories; responses to requests for admission;

deposition testimony; and other information disclosed in the context of discovery of

this case by any party or disclosed pursuant to the discovery procedures created by

the Federal Rules of Civil Procedure.

      3.      Confidential Information shall not be disclosed or used for any purpose

except the preparation and trial of this case, Gerald Palmer Jr. v. Scripps Media,

Inc., Case No. 24-cv-12353, and will not be used in any other litigation or disclosed

to any print, broadcast, or other media.

      4.      Confidential Information shall not, without the consent of the party

producing it or further Order of the Court, be disclosed except that such information

may be disclosed to:

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            (a)   attorneys for the parties actively working on this case;

            (b)   any person who previously received or authored the
                  materials;

            (c)   persons regularly employed or associated with the
                  attorneys for the parties actively working on the case
                  whose assistance is required by said attorneys in the
                  preparation for trial, at trial, or at other proceedings in this
                  case, including paralegal, clerical, and secretarial staff
                  employed by such attorneys;

            (d)   the Parties, their managerial agents, and individual
                  employees—but only to the extent counsel determines in
                  good faith that the employee’s assistance is reasonably
                  necessary to the conduct of the litigation in which the
                  information is disclosed;

            (e)   expert witnesses and consultants engaged in connection
                  with this proceeding, to the extent such disclosure is
                  necessary for preparation, trial, or other proceedings in
                  this case;

            (f)   mediators, facilitators, or other persons retained by the
                  parties to assist in the resolution of this matter, and their
                  staff;

            (g)   the Court and its employees (“Court Personnel”);

            (h)   stenographic reporters who are engaged in proceedings
                  necessarily incident to the conduct of this action;

            (i)   deponents, witnesses, or potential witnesses; and
            (j)   other persons only by written consent of the producing
                  party or upon order of the Court and on such conditions as
                  may be agreed or ordered.

      5.    Prior to disclosing any Confidential Information to any person listed

above (other than counsel, persons employed by counsel, the parties, managerial


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agents of the parties, mediators and facilitators, Court Personnel, and stenographic

reporters), counsel shall provide such person with a copy of this Protective Order

and inform such person that the document(s) being provided are subject to the

Protective Order and obtain his or her assent to be bound by terms of the Protective

Order, except that managerial agents of the parties who receive Confidential

Information are deemed bound by the terms of this Order.

      6.     Documents shall be designated as Confidential Information by counsel

by placing or affixing on them (in a manner that will not interfere with their

legibility) the following notice: “CONFIDENTIAL” or “PRODUCED PURSUANT

TO PROTECTIVE ORDER” or a substantially similar designation. If the document

did not originate from the party seeking to affix the Confidential Information label,

or was not produced in this action by that party, the Confidential Information

designation will occur upon written notice of that designation provided to all counsel

of record within thirty (30) days after receipt of the information or document

containing Confidential Information. Subject to the procedures in Paragraph 8, upon

such notice the document will be treated as Confidential Information within the

meaning of this Protective Order.

      7.     Whenever a deposition involves the disclosure of Confidential

Information, the deposition or portions thereof shall be designated as confidential by

counsel and shall be subject to the provisions of this Protective Order. Such

designation shall be made on the record during the deposition whenever possible,

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but a party may designate portions of depositions as containing Confidential

Information after transcription, provided written notice of the designation is

promptly given to all counsel of record within thirty (30) days after receipt of the

transcript of the testimony.

      8.       A party may object to the designation of Confidential Information by

giving written notice to the party designating the disputed information as

Confidential Information.       The written notice shall specifically identify the

information to which the objection is made. If the parties cannot resolve the

objection, it shall be the obligation of the party objecting to the designation as

Confidential Information to file an appropriate motion requesting that the Court

determine whether the disputed information should be subject to the terms of this

Protective Order. Such motion must be filed within thirty (30) days after submitting

written objection to the Confidential Information designation. If such a motion is

timely filed, the disputed information shall be treated as Confidential Information

under the terms of this Protective Order until the Court rules on the motion. In

connection with a motion filed under this provision, the party designating the

information as Confidential Information shall bear the burden of establishing that

good cause exists for the designated information to be treated as Confidential

Information.

      9.       In the event that any party receives a third-party subpoena or other form

of legal process requesting Confidential Information in this case and prior to

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producing Confidential Information, the party receiving such request will provide

the opposing party written notice that such a request was received as soon as possible

(but no later than five business days from receipt) and provide a copy of the request

with the written notice.

      10.    Confidential Information may be filed with the Court to the extent

reasonably necessary to support motions or other matters related to the litigation. If

any Confidential Information is to be filed with the Court, the party seeking to file

it (“filing party”) shall provide advance notice of the intention to do so and identify

the documents that will be filed, so that the other party (“opposing party”) may file

an order to seal the information in accordance with the Local Rules of the Eastern

District of Michigan and as otherwise stated in this Order. If such notice is given

less than three days before filing—and the opposing party indicates that it intends to

seek an order sealing the identified documents—the filing party shall initially file a

document that omits the confidential information and inserts placeholders where that

information would otherwise be set forth. The opposing party will have seven (7)

days to file a motion to seal; if the opposing party does not do so, the filing party

may file the full document without placeholders. If the motion to seal is granted, the

filing party must file the full document under seal, along with the sealed exhibits.

      11.    Non-parties from whom discovery is sought by the parties to this Order

may designate any document or other tangible information as “Confidential”

consistent with the terms of this Stipulated Protective Order, provided that such non-

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parties agree in writing to be bound by the Stipulated Protective Order. Under such

circumstances, documents and information designated “Confidential” by a non-party

are assigned the same protection as documents and information designated by a

party, and all duties applicable to a designating party shall apply to a non-party

designating documents or information “Confidential.” All obligations applicable to

parties receiving such documents or information shall apply to any parties receiving

documents or information from such non-party.

      12.    This order does not authorize the filing of any documents or other

matters under seal. Documents or other matter may be sealed only if authorized by

statute, rule, or order of the Court. A party seeking to file such items under seal may

do so in accordance with Local Rule 5.3, and shall file and serve a motion or submit

a proposed stipulated order that sets forth:

               i.   The authority for sealing;
              ii.   An identification and description of each item proposed for
                    sealing;
             iii.   The reason that sealing each item is necessary;
             iv.    The reason that means other than sealing are not available or
                    unsatisfactory to preserve the interest advanced by the movant in
                    support of sealing;
              v.    A memorandum of legal authority supporting sealing.

      13.    In the case of medical, employment, educational, and financial records,

as well as deposition transcripts, counsel may redact the appropriate non-pertinent

personal, financial, or health information contained therein. Examples of “non-

pertinent personal, financial, or health information” include: social security



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numbers, bank account numbers, dates of birth, names and dates of birth of minor

children, home addresses, and telephone numbers, where these subjects are not at

issue.

         14.   Unless otherwise agreed or ordered, this Order shall remain in force

after dismissal or entry of final judgment not subject to further appeal. At the

conclusion of this case, each document and all copies thereof which have been

designated as Confidential Information shall be returned to the party designating

them as confidential. Alternatively, a party may elect to destroy documents

containing Confidential Information. Where a party elects to destroy documents

containing Confidential Information, the destroying party shall provide all parties

with a written statement to counsel for the other party confirming that such

destruction has been accomplished. Notwithstanding the foregoing, counsel of

record for the parties may retain one complete set (including exhibits) of pleadings

and motion papers filed with the Court, and one complete copy of deposition

testimony (including exhibits) given in this action in a secure location. Materials

designated as “Confidential” that are in the custody of the Court are excepted from

the terms of this paragraph.

         15.   Any document subject to this Protective Order when produced will

remain protected unless the parties agree in writing to remove the designation, or as

otherwise ordered by the Court.




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      16.    This Protective Order may be amended by written stipulation of the

parties subject to the Court’s approval, or by the Court for good cause shown upon

notice to all counsel and an opportunity to be heard. This Protective Order is without

prejudice to the right of any party to admit Confidential Information as evidence or

in this action contest the admissibility, discoverability, or privileged status of any

document or information.

      17.    The parties agree that this Protective Order shall be effective from the

date on which it is executed by counsel for the parties and shall apply and be

enforceable from that date forward with respect to all discovery in this matter.

Within thirty (30) days after entry of this Order and subject to the procedures set

forth in this Order, any party may designate as Confidential Information any

documents or information produced prior to entry of this Protective Order, including

materials produced at any time after the commencement of this case.

      18.    The production of privileged or work-product protected documents,

electronically stored information (“ESI”) or information, whether inadvertent or

otherwise, is not a waiver of the privilege or protection from discovery in this case

or in any other federal or state proceeding. This Order shall be interpreted to provide

the maximum protection allowed by Federal Rule of Evidence 502(d). Nothing

contained herein is intended to or shall serve to limit a party’s right to conduct a

review of documents, ESI, or information (including metadata) for relevance,




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 responsiveness, and/or segregation of privileged and/or protected information before

 production.

       IT IS SO ORDERED.

 Dated: January 13, 2025                         s/Brandy R. McMillion
                                                 Honorable Brandy R. McMillion
                                                 United States District Judge




 The above order is stipulated to:

  CARLA D. AIKENS, P.L.C.                   KIENBAUM HARDY VIVIANO
                                            PELTON & FORREST, PLC

  By:/s/Carla D. Aikins with permission     By: /s/Thomas J. Davis
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                                            lwalas@khvpf.com
  Dated: January 13, 2025
                                            Dated: January 13, 2025




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